
PARKER, Judge.
The State of Florida challenges the order of the county court of Pinellas County which granted the motion to exclude breath test results from evidence in this prosecution for driving under the influence. We have accepted jurisdiction pursuant to Florida Rule of Appellate Procedure 9.160(e)(2).
We conclude after reviewing the record and briefs that this appeal is controlled by our opinions of State v. Berger, 605 So.2d 488 (Fla. 2d DCA 1992) and State v. Folsom, 630 So.2d 1129 (Fla. 2d DCA 1993). We, therefore, reverse the trial court’s order and re*1136mand for further proceedings consistent with this opinion.
Reversed and remanded.
RYDER, A.C.J., and PATTERSON, J., concur.
